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                        UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


  In re: Thomas F. McMonagle, III                           Case No. 18-16574

                 Debtor                                     Chapter 13



                                            ORDER

 And Now, this   28th   day of            October   , 2020, upon consideration of the Motion

 to Reconsider Order Dismissing Bankruptcy, it is hereby DENIED.




                                            BY THE COURT:




                                             MAGDELINE D. COLEMAN
                                             CHIEF U.S. BANKRUPTCY JUDGE
